Case: 1:19-cv-02256 Document #: 49 Filed: 06/07/19 Page 1 of 2 PagelD #:2820

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

H-D U.S.A., LLC,
Plaintiff,
V.

LEVOLVE2016, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. 19-cv-02256
Judge Rebecca R. Pallmeyer
Magistrate Judge Sunil R. Harjani

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on May 15, 2019 [45], in favor of

H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff’) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant, and

Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and interest

and desires to release this judgment and hereby fully and completely satisfy the same as to the

 

 

following Defendant:
Defendant Name Line No.
eternaldealer 44

 

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 7th day of June 2019.

Respectfully submitted,

Vn

/ Amy C. Ziegte fer

Justin R. jeg

RikKaleigh C. Johnson

Greer, Burns & Crain, Ltd.

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Counsel for Plaintiff H-D U.S.A., LLC

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 7th day of June 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE
Official Seal

Notary Public — State of Hllinois
My Commission Expires Nov 20, 2021

 

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Notary Public

State of Hlinois
County of Cook
